
In re Bayou Choctaw, Inc.; Seal Energy Company, et al.; Warren Operating Company, Inc.; — Defendant(s); Applying For Supervisory and/or Remedial Writs, Parish of W. Baton Rouge, 18th Judicial District Court Div. A, No. 35,373; to the Court of Appeal, First Circuit, No. 2010 CW 0787.
Granted. The case is remanded to the district court for reconsideration of its rulings in light of Eagle Pipe and Supply, Inc. v. Amerada Hess Corporation, 10-2267, 10-2272, 10-2275, 10-2279, 10-2289 (La.10/25/11), 79 So.3d 246.
KNOLL, J., recused.
WEIMER, J., would grant and docket.
